                                                              United States Bankruptcy Court
                                                                    District of Arizona
In re:                                                                                                                 Case No. 21-00993-EPB
SANG NGOC NGUYEN                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0970-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Sep 10, 2021                                               Form ID: pdf008                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 12, 2021:
Recip ID                 Recipient Name and Address
cr                     + JESSICA E BOWSER, 2336 EAST DOLPHIN AVENUE, MESA, AZ 85204-3731

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 12, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 10, 2021 at the address(es) listed
below:
Name                               Email Address
MARTIN J. BERKLEY
                                   on behalf of Debtor SANG NGOC NGUYEN mjberkley@yahoo.com r50106@notify.bestcase.com

RUSSELL BROWN
                                   on behalf of Trustee RUSSELL BROWN ecfmailclient@ch13bk.com

RUSSELL BROWN
                                   ecfmailclient@ch13bk.com

U.S. TRUSTEE
                                   USTPRegion14.PX.ECF@USDOJ.GOV


TOTAL: 4




         Case 2:21-bk-00993-EPB Doc 52 Filed 09/10/21 Entered 09/12/21 21:25:28                                                                     Desc
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                                        UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF ARIZONA

                                                       Minute Entry
Hearing Information:
                         Debtor:   SANG NGOC NGUYEN
                  Case Number:     2:21-BK-00993-EPB          Chapter: 13

          Date / Time / Room:      THURSDAY, SEPTEMBER 09, 2021 10:00 AM TELEPHONIC HRGS

         Bankruptcy Judge:         EDDWARD P. BALLINGER JR.
               Courtroom Clerk:    ANNETTE FRANCHELLO
                Reporter / ECR:    WESLEY STANGRET                                                0.00


Matter:
              CONTINUED HEARING ON OBJECTION TO CHAPTER 13 PLAN OF REORGANIZATION FILED BY JESSICA BOWSER
              R / M #:   22 / 0


Appearances:

        RACHEL FLINN, ATTORNEY FOR RUSSELL BROWN, TRUSTEE
        AARON BERKLEY, ATTORNEY FOR SANG NGOC NGUYEN
        JESSICA BOWSER, CREDITOR




Page 1 of 2                                                                                09/10/2021 12:15:10PM

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                                     UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF ARIZONA

                                                       Minute Entry
(continue)...   2:21-BK-00993-EPB         THURSDAY, SEPTEMBER 09, 2021 10:00 AM


Proceedings:                                                                                                   1.00


          Ms. Bowser informs the Court that she followed up with the debtor via email regarding a
          stipulation to change the insurance. She states that Mr. Nguyen did not understand why she
          was bringing it up and hired a lawyer in the family court case to fight it. She tried to email his
          lawyer but has not received a reply. She notes that they have a conference set for on
          September 30, 2021.

          Mr. Berkley states that his client's position is that his insurance is better and covers more. He
          explains that the deductions represent insurance and ongoing domestic support obligation.

          Ms. Bowser believes that Mr. Berkley was to produce the details of the breakdown.

          Mr. Berkley will do so to the trustee.

          Ms. Flinn states that the recommendation on the plan will be filed this week. She has emailed
          Ms. Bowser and Mr. Berkley with the initial issues that she sees. She notes that Mr. Berkley
          responded noting that the Debtor would have no issue producing the requested documents.
          She asks to continue the hearing for 30 days to review all the items once received.

          The Court notes that no one disputed that there is a family court order that imposes the
          insurance obligation on the Debtor. The Court states that it is up to the family court to decide
          whose obligation it is. The Court agrees to continue the hearing.

          Ms. Bowser will take the next steps to file a motion to modify the current decree.

          COURT: IT IS ORDERED continuing this matter to November 9, 2021 at 10:00 a.m. Parties
          shall appear telephonically by calling 877-810-9415, access code 1064631, a few minutes
          before the hearing.

          Notice sent through the
          Bankruptcy Noticing Center "BNC"
          on 9-10-21 to the following:

          Jessica Bowser
          2336 East Dolphin Ave.
          Mesa, AZ 85204




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